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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


In Re: AUTOMOTIVE PARTS                )     Master File No. 12-md-02311
ANTITRUST LITIGATION                   )     Honorable Marianne O. Battani
                                       )
                                       )
______________________________________ )
                                       )
In Re:                                 )
                                       )
SIDE-DOOR LATCHES AND LATCH            )
MINIMODULES CASES                      )     Jury Trial Demanded
                                       )
                                       )
______________________________________ )
                                       )
THIS RELATES TO:                       )     Case No. ________________
                                       )
GROUP 1 AUTOMOTIVE, INC. AS            )
ASSIGNEE ON BEHALF OF GROUP 1          )
AUTOMOTIVE WHOLLY-OWNED                )
SUBSIDIARY DEALERSHIPS,                )
ASBURY AUTOMOTIVE GROUP, INC.          )
AS ASSIGNEE ON BEHALF OF               )
ASBURY AUTOMOTIVE WHOLLY-              )
OWNED SUBSIDIARY DEALERSHIPS,          )
VAN TUYL GROUP, LLC AS ASSIGNEE        )
ON BEHALF OF ASSIGNOR                  )
DEALERSHIPS, AND MAJOR                 )
AUTOMOTIVE COMPANIES, INC.             )
AS ASSIGNEE ON BEHALF OF               )
MAJOR AUTOMOTIVE WHOLLY-OWNED )
SUBSIDIARY DEALERSHIPS,                )
BRONX FORD, INC., AND                  )
CITY WORLD MOTORS, LLC,                )
                                       )
                  Plaintiffs.          )
                                       )
v.                                     )
                                       )
BROSE SCHLIEßSYSTEME GMBH &            )
CO. KOMMANDITGESELLSCHAFT,             )
BROSE NORTH AMERICA,                   )



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KIEKERT AG, AND                                   )
KIEKERT U.S.A., INC.                              )
                                                  )
                        Defendants.               )


                            PLAINTIFFS’ ORIGINAL COMPLAINT

         Plaintiffs Group 1 Automotive, Inc. as Assignee on Behalf of Group 1 Automotive

Wholly-owned Subsidiary Dealerships, Asbury Automotive Group, Inc. as Assignee on Behalf

of Asbury Automotive Wholly-owned Subsidiary Dealerships, Van Tuyl Group, LLC as

Assignee on Behalf of Assignor Dealerships, and           Major Automotive Companies, Inc. as

Assignee on Behalf of Major Automotive Wholly-owned Subsidiary Dealerships, Bronx Ford,

Inc., and City World Motors, LLC (collectively, “Plaintiffs”) file this Original Complaint (the

“Complaint”) against Defendants Brose Schließsysteme GmbH & Co. Kommanditgesellschaft,

Brose North America (together, “Brose” or “Brose Defendants”), Kiekert AG, and Kiekert

U.S.A., Inc. (together, “Kiekert” or “Kiekert Defendants”) (collectively, “Defendants”). For their

Complaint, Plaintiffs state as follows:

      I. NATURE OF ACTION

         1.      The global conspiracy to fix the prices of various automotive parts in violation of

multiple countries’ antitrust laws has resulted in the “biggest criminal antitrust investigation that

[the Department of Justice has] ever encountered…with respect to the impact on U.S. business

and consumers, and the number of companies and executives that are subject to the

investigation.”1 The United States alone has levied billions of dollars in fines and multiple

companies and executives have pled guilty to various antitrust charges. Dozens of civil lawsuits

have been filed as well, including several class actions from both direct purchaser and indirect


1
    https://www.law360.com/articles/416139/doj-widens-antitrust-probe-into-auto-parts-industry.



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purchasers of dozens of automotive parts. This action concerns the conspiracy to unlawfully fix

the prices of Side-Door Latches and Latch Minimodules and the substantial harm that conspiracy

has caused Plaintiffs, who comprise some of the largest groups of automobile dealerships in the

country.

       2.      Side-Door Latches are mechanisms that secure an automotive door to a vehicle

body and may be locked to prevent unauthorized access to a vehicle.

       3.      Latch Minimodules are mechanisms that include the Side-Door Latch and all

related mechanical operating components, including the electric lock function.

       4.      Side-Door Latches and Latch Minimodules are essential components of a vehicle.

As explained further below, Defendants control a significant portion of the market and, therefore,

were able to engage in a massive price-fixing conspiracy against nearly the entire global

automotive industry for over a decade.        Defendants’ conduct raised the prices of vehicles

containing Side-Door Latches and Latch Minimodules. The harm Defendants intentionally

caused to Plaintiffs and others is substantial and constitutes an antitrust injury under both federal

and state laws as set forth below.

       5.      Plaintiffs bring this action to recover for this harm for Side-Door Latches and

Latch Minimodules and/or vehicles containing Side-Door Latches and Latch Minimodules

purchased by Plaintiffs, manufactured by Defendants or any co-conspirator, during the period

from January 1, 2004 to the present (the “Relevant Time Period”).

   II. JURISDICTION AND VENUE

       6.      This action arises under Section 16 of the Clayton Act (15 U.S.C. § 26) for

Defendants’ violation of Section 1 of the Sherman Act (15 U.S.C. § 1). Thus, this Court has

subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1337. Plaintiffs also assert various




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state law claims. This Court has subject matter jurisdiction over the state law claims in this

action pursuant to 28 U.S.C. §§ 1332(a) and 1367 as Plaintiffs and Defendants are citizens of

different states and the matter in controversy exceeds $75,000 exclusive of interests and costs.

        7.      Venue is proper in this district pursuant to Section 12 of the Clayton Act (15

U.S.C. §22), and 28 U.S.C. §§1391 (b), (c), and (d), because a substantial part of the events

giving rise to Plaintiffs’ claims occurred in this district, a substantial portion of the affected

interstate trade and commerce discussed below has been carried out in this district, and one or

more of the Defendants reside, are licensed to do business in, are doing business in, had agents

in, or are found or transact business in this district.

        8.      This Court has jurisdiction over each Defendant because each either directly or

through the ownership and/or control of its United States subsidiaries: (a) transacted business in

the United States, including in this district; (b) directly or indirectly sold or marketed substantial

quantities of Side-Door Latches and Latch Minimodules designed for vehicles to be sold

throughout the United States, including in this district; (c) had substantial aggregate contacts

with the United States as a whole, including in this district; (d) colluded with conspirators who

engaged in conspiratorial conduct in the United States, including in this district; and/or (e) was

engaged in an illegal price-fixing conspiracy that was directed at, and had a direct, substantial,

reasonably foreseeable and intended effect of causing injury to, the business or property of

persons and entities residing in, located in, or doing business throughout the United States.

Defendants also conduct business throughout the United States, including in this district, and

they have purposefully availed themselves of the laws of the United States and this district.

        9.      Defendants engaged in conduct both inside and outside of the United States that

caused direct, substantial, reasonably foreseeable and intended anti-competitive effects upon




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interstate commerce within the United States, and upon import trade and commerce within the

United States.

       10.       The activities of Defendants and their co-conspirators were within the flow of,

were intended to, and did have, a substantial effect on interstate commerce of the United States.

Defendants’ products are sold in the flow of interstate commerce.

       11.       Side-Door Latches and Latch Minimodules manufactured abroad by Defendants

and sold for use in automobiles either manufactured in the United States or manufactured abroad

and sold in the United States are goods brought into the United States for sale, and therefore

constitute import commerce. To the extent any Side-Door Latches and Latch Minimodules are

purchased in the United States, and such Side-Door Latches and Latch Minimodules do not

constitute import commerce, Defendants’ unlawful activities with respect thereto, as more fully

alleged herein, had, and continue to have, a direct, substantial and reasonably foreseeable effect

on United States commerce.        The anticompetitive conduct, and its effect on United States

commerce described herein, proximately caused antitrust injury to Plaintiffs in the United States.

       12.       By reason of the unlawful activities alleged herein, Defendants substantially

affected commerce throughout the United States, causing injury to Plaintiffs.             Defendants,

directly and through their agents, engaged in activities affecting all states, to fix or inflate prices

of Side-Door Latches and Latch Minimodules, and that conspiracy unreasonably restrained trade

and adversely affected the market for Side-Door Latches and Latch Minimodules.

       13.       Defendants’ conspiracy and wrongdoing injured Plaintiffs who indirectly

purchased vehicles containing Side-Door Latches and Latch Minimodules.




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   III. PARTIES

                a. Plaintiffs

          14.      Plaintiff Group 1 Automotive, Inc. as Assignee on Behalf of Group 1 Automotive

Wholly-owned Subsidiary Dealerships is a Delaware corporation with its principal place of

business in Houston, Texas. The wholly-owned subsidiary dealerships identified on the attached

Exhibit A have assigned their claims to Group 1 Automotive, Inc. The dealerships are (or have

been) authorized dealers for at least the following: Audi, BMW, Buick, Chevrolet, Chrysler,

Dodge, Ford, GMC, Honda, Hyundai, Infiniti, Jeep, Kia, Lexus, Lincoln, Mazda, Mercedes-

Benz, Mini, Mitsubishi, Nissan, Plymouth, Pontiac, Porsche, Ram, Scion, Smart, Subaru, Suzuki,

Toyota, Volkswagen, and Volvo. Group 1 Automotive, Inc. as Assignee on Behalf of Group 1

Automotive Wholly-owned Subsidiary Dealerships (hereinafter, “Group 1 Automotive”)

purchases new vehicles containing Side-Door Latches and Latch Minimodules manufactured by

Defendants and/or replacement parts for Side-Door Latches and Latch Minimodules

manufactured by Defendants.         Group 1 Automotive purchased and received the Side-Door

Latches and Latch Minimodules and/or vehicles containing Side-Door Latches and Latch

Minimodules in the following states: California, Florida, Kansas, Massachusetts, Mississippi,

New Hampshire, New Mexico, New York, and South Carolina. Group 1 Automotive has also

displayed, sold, serviced, and advertised its vehicles in those states during the Relevant Time

Period.     Accordingly, Group 1 Automotive has been forced to pay Defendants’ supra-

competitive prices. Group 1 Automotive, therefore, has been injured in its business and/or

property as a result of the unlawful conduct alleged herein.

          15.      Plaintiff Asbury Automotive Group, Inc. as Assignee on Behalf of Asbury

Automotive Wholly-owned Subsidiary Dealerships is a Delaware corporation with its principal




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place of business in Duluth, Georgia. The wholly-owned subsidiary dealerships identified on the

attached Exhibit B have assigned their claims to Asbury Automotive Group, Inc.               The

dealerships are (or have been) authorized dealers for at least the following: Acura, Audi, BMW,

Buick, Cadillac, Chevrolet, Chrysler, Daewoo, Dodge, Ford, GMC, Honda, Hyundai, Infiniti,

Isuzu, Jaguar, Jeep, Kia, Land Rover, Lexus, Lincoln, Mazda, Mercedes-Benz, Mini, Mitsubishi,

Nissan, Pontiac, Porsche, Toyota, Scion, Subaru, Suzuki, Volkswagen, and Volvo. Asbury

Automotive Group, Inc. as Assignee on Behalf of Asbury Automotive Wholly-owned Subsidiary

Dealerships (hereinafter, “Asbury Automotive”) purchases new vehicles containing Side-Door

Latches and Latch Minimodules manufactured by Defendants and/or replacement parts for Side-

Door Latches and Latch Minimodules manufactured by Defendants.              Asbury Automotive

purchased and received the Side-Door Latches and Latch Minimodules and/or vehicles

containing Side-Door Latches and Latch Minimodules in the following states:            Arkansas,

California, Florida, Missouri, Mississippi, North Carolina, Oregon, and South Carolina. Asbury

Automotive has also displayed, sold, serviced, and advertised its vehicles in those states during

the Relevant Time Period. Accordingly, Asbury Automotive has been forced to pay Defendants’

supra-competitive prices. Asbury Automotive, therefore, has been injured in its business and/or

property as a result of the unlawful conduct alleged herein.

       16.     Plaintiff Van Tuyl Group, LLC as Assignee on Behalf of Assignor Dealerships is

a Delaware limited liability company with its principal place of business in Irving, Texas. The

assignor dealerships identified on the attached Exhibit C have assigned their claims to Van Tuyl

Group, LLC. The dealerships are (or have been) authorized dealers for at least the following:

Acura, Alpha Romeo, Audi, BMW, Buick, Cadillac, Chevrolet, Chrysler, Dodge, Fiat, Ford,

GMC, Honda, Hyundai, Infiniti, Jeep, Kia, Lexus, Lincoln, Mazda, Nissan, Subaru, Toyota,




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Volkswagen, and Volvo. Van Tuyl Group, LLC as Assignee on Behalf of Assignor Dealerships

(hereinafter, “VTG”) purchases new vehicles containing Side-Door Latches and Latch

Minimodules manufactured by Defendants and/or replacement parts for Side-Door Latches and

Latch Minimodules manufactured by Defendants. VTG purchased and received the Side-Door

Latches and Latch Minimodules and/or vehicles containing Side-Door Latches and Latch

Minimodules in the following states: Arizona, California, Florida, Illinois, Missouri, Nebraska,

and New Mexico. VTG has also displayed, sold, serviced, and advertised its vehicles in those

states during the Relevant Time Period. Accordingly, VTG has been forced to pay Defendants’

supra-competitive prices. VTG, therefore, has been injured in its business and/or property as a

result of the unlawful conduct alleged herein.

       17.     Plaintiff Major Automotive Companies, Inc. as Assignee on Behalf of Major

Automotive Wholly-owned Subsidiary Dealerships is a Delaware corporation with its principal

place of business in Long Island City, New York. The wholly-owned subsidiary dealerships

identified on the attached Exhibit D have assigned their claims to Major Automotive Companies,

Inc. The dealerships are (or have been) authorized dealers for at least the following: Chevrolet,

Chrysler, Jeep, and Dodge. Major Automotive Companies, Inc. as Assignee on Behalf of Major

Automotive Wholly-owned Subsidiary Dealerships (hereinafter, “Major Automotive”) purchases

new vehicles containing Side-Door Latches and Latch Minimodules manufactured by

Defendants and/or replacement parts for Side-Door Latches and Latch Minimodules

manufactured by Defendants. Major Automotive purchased and received the Side-Door Latches

and Latch Minimodules and/or vehicles containing Side-Door Latches and Latch Minimodules in

New York. Major Automotive has also displayed, sold, serviced, and advertised its vehicles in

New York during the Relevant Time Period. Accordingly, Major Automotive has been forced to




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pay Defendants’ supra-competitive prices. Major Automotive, therefore, has been injured in its

business and/or property as a result of the unlawful conduct alleged herein.

       18.     Plaintiff Bronx Ford, Inc. is a Delaware corporation with its principal place of

business in Bronx, New York. Bronx Ford, Inc. operates a dealership under the trade name City

World Ford, formerly known as Bronx Ford Lincoln Mercury, Inc. and doing business as City

World Ford Lincoln Mercury. The dealerships are (or have been) authorized dealers for at least

the following: Ford and Lincoln. Bronx Ford purchases new vehicles containing Side-Door

Latches and Latch Minimodules manufactured by Defendants and/or replacement parts for Side-

Door Latches and Latch Minimodules manufactured by Defendants. Bronx Ford brings claims

on behalf of its dealership located in New York. Bronx Ford has also displayed, sold, serviced,

and advertised its vehicles in New York during the Relevant Time Period. Accordingly, Bronx

Ford has been forced to pay Defendants’ supra-competitive prices. Bronx Ford, therefore, has

been injured in its business and/or property as a result of the unlawful conduct alleged herein.

       19.     Plaintiff City World Motors, LLC is a Delaware corporation with its principal

place of business in Bronx, New York. City World Motors, LLC operates a dealership under the

trade name City World Toyota Scion. The dealership is (or has been) an authorized dealer for at

least the following: Toyota and Scion. City World Motors, LLC (hereinafter, “City World

Motors”) purchases new vehicles containing Side-Door Latches and Latch Minimodules

manufactured by Defendants and/or replacement parts for Side-Door Latches and Latch

Minimodules manufactured by Defendants. City World Motors brings claims on behalf of its

dealership located in New York. City World Motors has also displayed, sold, serviced, and

advertised its vehicles in New York during the Relevant Time Period. Accordingly, City World

Motors has been forced to pay Defendants’ supra-competitive prices. City World Motors,




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therefore, has been injured in its business and/or property as a result of the unlawful conduct

alleged herein.

              b. Defendants

                  i.     Kiekert Defendants

        20.       Defendant Kiekert AG is a German corporation organized and existing under the

laws of Germany with its principal place of business in Heiligenhaus, Germany. During the

Relevant Time Period, Defendant Kiekert AG – directly and/or through its subsidiaries, which it

wholly owned and/or controlled – manufactured, marketed and/or sold Side-Door Latches

and Latch Minimodules that were sold and purchased throughout the United States, including in

this District.

        21.       Defendant Kiekert U.S.A., Inc. is a Delaware corporation with its principal place

of business at 46941 Liberty Drive, Wixom, Michigan 48393. On information and belief, Kiekert

U.S.A., Inc. is a subsidiary and wholly owned and/or controlled by its parent, Kiekert AG. On

information and belief, Defendant Kiekert U.S.A., Inc. manufactured, marketed and/or sold Side-

Door Latches and Latch Minimodules that were sold and purchased throughout the United

States, including in this District, during the Relevant Time Period. On information and belief, at

all times during the Relevant Time Period, Defendant Kiekert U.S.A., Inc.’s activities in the

United States were under the control and direction of its German parent.

        ii.              Brose Defendants

        22.       Defendant Brose Schließsysteme GmbH & Co. Kommanditgesellschaft is a

German corporation with its principal place of business in Wuppertal-Ronsdorf, Germany.

During the Relevant Time Period, Defendant Brose Schließsysteme GmbH & Co.

Kommanditgesellschaft – directly and/or through its subsidiaries, which it wholly owned and/or




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controlled – manufactured, marketed and/or sold Side-Door Latches and Latch Minimodules that

were sold and purchased throughout the United States, including in this District.

        23.      Defendant Brose North America is a Michigan corporation with its principal place

of business in Auburn Hills, Michigan. It is a subsidiary and wholly owned and/or controlled by

its parent, Brose Schließsysteme GmbH & Co. Kommanditgesellschaft. On information and

belief, Defendant Brose North America manufactured, marketed and/or sold Side-Door Latches

and Latch Minimodules that were sold and purchased throughout the United States, including in

this District, during the Relevant Time Period. On information and belief, at all times during the

Relevant Time Period, Defendant Brose North America’s activities in the United States were

under the control and direction of its German parent.

              c. Agents and Co-Conspirators

        24.      Each Defendant acted as the principal of or agent for other Defendants with

respect to the acts, violations, and common course of conduct alleged.

        25.      On information and belief, additional persons and entities participated as co-

conspirators with Defendants in the conspiracy and performed acts in furtherance of the

conspiracy and anti-competitive conduct.         The identities of such persons and entities are

currently unknown.

        26.      Whenever in this Complaint reference is made to any act, deed or transaction of

any corporation or limited liability entity, the allegation means that the corporation or limited

liability entity engaged in the act, deed or transaction by or through its officers, directors, agents,

employees or representatives while they were actively engaged in the management, direction,

control or transaction of the corporation’s or limited liability entity’s business or affairs.




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   IV. PROCEDURAL HISTORY

       27.     In the wake of the DOJ’s investigations and criminal convictions described

herein, automobile dealers, buyers, and others began filing class action lawsuits against

automotive parts manufacturers, including Defendants, in United States district courts across the

country on behalf of direct and indirect purchasers of various automobile parts.

       28.     In February 2012, the Panel on Multidistrict Litigation consolidated the existing

actions in the United States District Court for the Eastern District of Michigan, styled In re:

Automotive Parts Antitrust Litigation, 2:12-md-02311. Since the beginning of the MDL,

numerous additional suits alleging price fixing on automobile parts, including Side-Door Latches

and Latch Minimodules, have been combined.

       29.     In May 2016, the United States District Court for the Eastern District of Michigan

gave final approval for settlements with certain defendants (“First Group” settlements) providing

benefits to eligible automobile dealers related to the massive antitrust conspiracy to fix the prices

of automotive parts. Plaintiffs did not opt-out of the First Group.

       30.     In November 2016, the United States District Court for the Eastern District of

Michigan gave final approval for additional settlements with certain defendants (“Second

Group” settlements). Plaintiffs opted-out of the Second Group.

       31.     In 2018, the United States District Court for the Eastern District of Michigan

preliminarily approved the proposed settlement of claims of eligible automobile dealerships for

automotive parts, including Side-Door Latches and Latch Minimodules, against certain

additional defendants (“Third Group” settlements). See Exhibit E.

       32.     Pursuant to Rule 23, the Court ordered the parties in the class action to provide

notice to the absent class members advising them of, among other things, their right to opt-out of




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any of the proposed settlements in the Third Group.

       33.     Plaintiffs properly exercised their right to opt out from the settlements related to

all automotive parts in the Third Group, including Side-Door Latches and Latch Minimodules,

prior to the opt-out deadline provided in the notice.

       34.     In Late 2018 and 2019, the United States District Court for the Eastern District of

Michigan preliminarily approved the proposed settlement of claims of eligible automobile

dealerships for automotive parts, including Side-Door Latches and Latch Minimodules, against

certain additional defendants (“Fourth Group” settlements). See Exhibit F.

       35.     Pursuant to Rule 23, the Court ordered the parties in the class action to provide

notice to the absent class members advising them of, among other things, their right to opt-out of

any of the proposed settlements in the Fourth Group.

       36.     Plaintiffs properly exercised their right to opt out from settlements related to

automotive parts in the Fourth Group, including Side-Door Latches and Latch Minimodules,

prior to the opt-out deadline provided in the notice

       37.     As set forth herein, Defendants engaged in a massive, anti-competitive conspiracy

to raise the prices of Side-Door Latches and Latch Minimodules above competitive levels. As a

result, Plaintiffs, who are automobile dealers, paid supra-competitive prices for Side-Door

Latches and Latch Minimodules and/or vehicles containing Side-Door Latches and Latch

Minimodules. Defendants have caused Plaintiffs substantial antitrust injuries to their business

and property. As such, Plaintiffs now bring this action for damages, injunctive relief, and other

relief pursuant to federal antitrust laws and state antitrust, unfair competition, unjust enrichment

and consumer protection laws, and demand a trial by jury.




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   V. FACTUAL ALLEGATIONS

               a. Side-Door Latches and Latch Minimodules Market

         38.      Defendants manufacture, market, and sell automotive parts including, relevant to

this lawsuit, Side-Door Latches and Latch Minimodules.

         39.      Side-Door Latches and Latch Minimodules are mechanisms securing an

automobile door to the vehicle body which may be locked to prevent unauthorized access to a

vehicle from the exterior. Latch Minimodules include the Side-Door Latch and all of the related

mechanical operating components, including the electric lock function.

         40.      Defendants supplied Side-Door Latches and Latch Minimodules to original

equipment manufacturers (“OEMs”), mostly large automotive manufacturers, for installation in

vehicles manufactured and/or sold in the United States.

         41.      OEMs purchase parts for U.S.-manufactured vehicles both in the United States

and abroad. Before production of a new automobile model begins, OEMs issue Requests for

Quotation (“RFQs”) to automotive parts suppliers for model-specific parts (such as Side-Door

Latches and Latch Minimodules) for that model of automobile. In response, automobile parts

suppliers submit bids to the OEMs.         The OEMs then select a supplier based on its bid.

Generally, a supplier of a model-specific part is selected for the lifespan of that automobile

model.

         42.      For new automobiles, OEMs purchase Side-Door Latches and Latch Minimodules

directly from automotive parts suppliers, including Defendants. Side-Door Latches and Latch

Minimodules may also be supplied to the OEMs by component manufacturers who purchase

Side-Door Latches and Latch Minimodules directly from Defendants.               In this scenario,

component manufacturers, referred to as Tier 1 Manufacturers, supply Side-Door Latches and




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Latch Minimodules directly to the OEM.

         43.      OEMs in turn supply Side-Door Latches and Latch Minimodules to automobile

dealerships, including Plaintiffs. Plaintiffs indirectly purchase Side-Door Latches and Latch

Minimodules from Defendants by, for example, purchasing or leasing a new vehicle containing

Side-Door Latches and Latch Minimodules.

               b. Defendants’ Conspiracy and Anti-Competitive Conduct

         44.      The nature of the Side-Door Latches and Latch Minimodules market in the United

States is conducive to a price-fixing agreement, and has made collusion particularly attractive in

this market. Specifically, the Side-Door Latches and Latch Minimodules market: (1) has high

barriers to entry and (2) has inelasticity of demand.

         45.      Where a group has entered into a conspiracy to raise prices above competitive

levels for a particular market, new companies would seemingly use that as an opportunity to

enter that market with more competitive pricing. This is less likely to occur where there are

significant barriers to entering the market at issue.

         46.      Significant barriers to entry exist in the Side-Door Latches and Latch

Minimodules market. A new company would face high start-up costs, including millions of

dollar costs related to manufacturing plants, equipment, energy, transportation, distribution

infrastructure, and customer relationships.

         47.      Regarding inelasticity of demand, there is inelasticity of demand for Side-Door

Latches and Latch Minimodules. “Elasticity is a measure of a variable’s sensitivity to a change

in another variable.”2 Price elasticity of demand is “a measure of the relationship between a




2
    http://www.investopedia.com/terms/e/elasticity.asp



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change in the quantity demanded of a particular good and a change in its price.”3 “If a small

change in price is accompanied by a large change in quantity demanded, the produce is said to be

elastic (or responsive to price changes). Conversely, a product is inelastic if a large change in

price is accompanied by a small amount of change in quantity demanded.”4 Customers who

have no cheaper alternative for a product with inelastic demand are forced to continue to

purchase the product at higher prices. Thus, inelastic demand in a market facilitates conspiring

by allowing producers to raise their prices without fear of losing sales to other substitute

products (or customers not buying the product at all).

        48.      Demand for Side-Door Latches and Latch Minimodules is highly inelastic. No

close substitute products exist. Further, both mechanisms are considered “safety-critical systems”

by federal and original equipment manufacturer (“OEM”) regulations.5 Side-Door Latches and

Latch Minimodules are an essential part of every vehicle and must be purchased even if prices

are raised.

              c. Government Investigations

        49.      As discussed above, government investigations into the rampant automotive parts

industry antitrust conspiracies are well documented. The DOJ continues to investigate the “price

fixing, bid rigging and other anticompetitive conduct in the automotive parts industry…A total of

65 individuals and 47 companies have been charged in the Antitrust Division’s investigations

into the automotive parts industry.”6 The DOJ has described the investigation as the largest



3
  http://www.investopedia.com/terms/p/priceelasticity.asp
4
  Id.
5
  See Udriste, and Negrus, E., "Construction and Kinematics of Automotive Side Door Latch
Mechanisms,"        SAE     Technical     Paper     2005-01-0881      (2005),     available     at
http://papers.sae.org/2005-01-0881/ (accessed May 12, 2020).
6
  https://www.justice.gov/opa/pr/auto-parts-industry-executive-pleads-guilty-obstruction-justice.



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criminal investigation it has ever undertaken. The DOJ has thus far fined companies over $2.9

billion related to this investigation and sentenced dozens to jail terms.7

       50.     The DOJ’s investigation into illegal bid rigging and price fixing in the automotive

parts industry began as a part of a global effort including the European Union and Japan. In

February 2010 and in June 2010, the European Commission (“EC”) conducted raids on the

offices of several defendants. Also in February 2010, Japan’s Fair Trade Commission (“JFTC”)

raided the Tokyo offices of Furukawa Electric, Sumitomo Electric, and Yazaki Corporation,

seeking evidence of collusion in the industry. Finally, FBI investigators raided three Detroit-area

Japanese auto parts makers as part of a federal antitrust investigation.

       51.     To date, the DOJ’s criminal investigation of illegal price fixing and bid rigging in

the automotive parts industry has likewise resulted in the filing of criminal charges against

numerous automotive parts manufacturers. Criminal fines specifically related to the Side-Door

Latches and Latch Minimodules market include:

               a. On March 7, 2017, the DOJ announced that Kiekert AG had agreed to plead

                   guilty and pay a $6.1 million criminal fine for conspiring to rig bids of Side-

                   Door Latches and Latch Minimodules. According to the DOJ, Kiekert and its

                   Co-Conspirators:

                        i. Participated in meetings, conversations, and other communications to
                           discuss the bids and price quotations to be submitted to Ford in the
                           United States and elsewhere.

                       ii. Agreed, during those meetings, conversations, and communications, to
                           allocate among the corporations sales of certain Side-Door Latches
                           and Latch Minimodules sold to Ford in the United States and
                           elsewhere.


7
  https://www.law360.com/foodbeverage/articles/885906/trends-to-watch-in-doj-cartel-
investigations-this-year.



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                      iii. Agreed, during those meetings, conversations, and communications,
                           on bids and price quotations to be submitted to Ford in the United
                           States and elsewhere.

                      iv. Exchanged information on bids and price quotations to be submitted to
                          Ford in the United States and elsewhere, in order to effectuate the
                          agreements.

                       v. Submitted bids and price quotations to Ford in the United States and
                          elsewhere in accordance with the agreements.

                      vi. Sold certain Side-Door Latches to Ford in the United States and
                          elsewhere at collusive and noncompetitive prices.

                     vii. Accepted payment for certain Side-Door Latches and Latch
                          Minimodules sold to Ford in the United States and elsewhere at
                          collusive and noncompetitive prices.

       52.     Dozens of additional companies and individuals have plead guilty to price fixing

in the broader automotive parts industry as a result of the DOJ’s investigations, including:

               a. On March 1, 2012, Yazaki Corporation plead guilty to three counts of

                   Conspiracy to Restrain Trade and agreed to pay a criminal fine of $470

                   million for conspiring to rig bids and fix prices of automotive wire harnesses,

                   instrument panel clusters, and fuel senders.

               b. On March 5, 2012, DENSO Corporation plead guilty to two counts of

                   Conspiracy to Restrain Trade and agreed to pay a criminal fine of $78 million

                   for conspiring to rig bids and fix prices of electrical control units and heater

                   control panels.

               c. On May 16, 2012, G. S. Electech, Inc. plead guilty to one count of Conspiracy

                   to Restrain Trade and agreed to pay a criminal fine of $2.75 million for

                   conspiring to rig bids and fix prices of speed sensor wire assemblies.

               d. On June 21, 2012, Fujikura LTD plead guilty to one count of Conspiracy to



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                 Restrain Trade and agreed to pay a criminal fine of $20 million for conspiring

                 to rig bids and fix prices of automotive wire harnesses.

            e. On June 21, 2012, Autoliv, Inc. plead guilty to two counts of Conspiracy to

                 Restrain Trade and agreed to pay a criminal fine of $14.5 million for

                 conspiring to rig bids, fix prices, and otherwise restrain trade of seatbelts,

                 airbags and steering wheels.

            f. On September 25, 2012, TRW Deutschland Holding GmbH plead guilty to

                 one count of Conspiracy to Restrain Trade and agreed to pay a criminal fine of

                 $5.1 million for conspiring to rig bids and fix prices of seatbelts, airbags and

                 steering wheels.

            g.   On November 8, 2012, Nippon Seiki Co., Ltd. plead guilty to one count of

                 Conspiracy to Restrain Trade and agreed to pay a criminal fine of $1 million

                 for conspiring to rig bids and fix prices of instrument panel clusters.

            h. On December 12, 2012, Tokai Rika Co. Ltd. plead guilty to one count of

                 Conspiracy to Restrain Trade and one count of Obstruction of Justice and

                 agreed to pay a criminal fine of $17.7 million for conspiring to rig bids and fix

                 prices of heater control panels.

            i. On July 2, 2013, Furukawa Electric Company, Ltd. plead guilty to one count

                 of Conspiracy to Restrain Trade and agreed to pay a criminal fine of $200

                 million for conspiring to rig bids and fix prices of automotive wire harnesses.

            j. On August 6, 2013, Panasonic Corporation plead guilty to three counts of

                 Conspiracy to Restrain Trade and agreed to pay a criminal fine of $45.8

                 million for conspiring to rig bids, fix prices, and otherwise restrain trade of




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               HID ballasts, switches, and steering angle sensors.

            k. On September 11, 2013, Diamond Electric Mfg. Co. Ltd. plead guilty to one

               count of Conspiracy to Restrain Trade and agreed to pay a criminal fine of

               $19 million for conspiring to rig bids, fix prices, and otherwise restrain trade

               of ignition coils.

            l. On October 21, 2013, Yamashita Rubber Co., Ltd. plead guilty to one count of

               Conspiracy to Restrain Trade and agreed to pay a criminal fine of $11 million

               for conspiring to rig bids and fix prices of anti-vibrational rubber parts.

            m. On November 5, 2013, Valeo Japan Co., LTD. plead guilty to one count of

               Conspiracy to Restrain Trade and agreed to pay a criminal fine of $13.6

               million for conspiring to rig bids, fix prices, allocate customers, and otherwise

               restrain trade of air conditioning systems.

            n. On November 6, 2013, Mitsubishi Electric Corporation (“Mitsubishi”) plead

               guilty to one count of Conspiracy to Restrain Trade and agreed to pay a

               criminal fine of $190 million for conspiring to rig bids, fix prices, and

               otherwise restrain trade of starter motors, alternators, and ignition coils.

            o. On November 6, 2013, Mitsuba Corporation plead guilty to one count of

               Conspiracy to Restrain Trade and one count of Obstruction of Justice and

               agreed to pay a criminal fine of $135 million for conspiring to rig bids, fix

               prices, allocate customers, and otherwise restrain trade of windshield washer

               and wiper systems, starter motors, power window motors, and fan motors.

            p. On November 6, 2013, Mitsubishi Heavy Industries, Ltd. plead guilty to one

               count of Conspiracy to Restrain Trade and agreed to pay a criminal fine of




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               $14.5 million for conspiring to rig bids, fix prices, allocate customers, and

               otherwise restrain trade of compressors and condensers.

            q. On November 7, 2013, Hitachi Automotive Systems, Ltd. plead guilty to one

               count of Conspiracy to Restrain Trade and agreed to pay a criminal fine of

               $195 million for conspiring to rig bids, fix prices, allocate customers, and

               otherwise restrain trade of starter motors, alternators, air flow meters, valve

               timing control devices, fuel injection systems, electronic throttle bodies,

               ignition coils, inverters, and motor generators.

            r. On November 13, 2013, T.RAD Co., Ltd. plead guilty to one count of

               Conspiracy to Restrain Trade and one count of Obstruction of Justice and

               agreed to pay a criminal fine of $13.75 million for conspiring to rig bids, fix

               prices, allocate customers, and otherwise restrain trade of radiators and ATF

               warmers.

            s. On December 5, 2013, Takata Corporation plead guilty to one count of

               Conspiracy to Restrain Trade and agreed to pay a criminal fine of $71.3

               million for conspiring to rig bids, fix prices, and otherwise restrain trade of

               seatbelts.

            t. On January 23, 2014, Stanley Electric Co., Ltd. plead guilty to one count of

               Conspiracy to Restrain Trade and agreed to pay a criminal fine of $1.44

               million for conspiring to rig bids, fix prices, and otherwise restrain trade of

               HID ballasts.

            u. On February 7, 2014, Toyo Tire & Rubber Co., LTD. plead guilty to two

               counts of Conspiracy to Restrain Trade and agreed to pay a criminal fine of




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               $120 million for conspiring to rig bids, fix prices, and otherwise restrain trade

               of anti-vibrational rubber parts and constant velocity joint boots.

            v. On February 11, 2014, Koito Manufacturing Co., Ltd. plead guilty to two

               counts of Conspiracy to Restrain Trade and agreed to pay a criminal fine of

               $56.6 million for conspiring to rig bids, fix prices, and otherwise restrain trade

               of HID ballasts and lighting fixtures.

            w. On March 5, 2014 Aisan Industry Co., Ltd. plead guilty to one count of

               Conspiracy to Restrain Trade and agreed to pay a criminal fine of $6.86

               million for conspiring to rig bids, fix prices, and otherwise restrain trade of

               electronic throttle bodies.

            x. On April 20, 2014, Bridgestone Corporation plead guilty to one count of

               Conspiracy to Restrain Trade and agreed to pay a criminal fine of $425

               million for conspiring to rig bids, allocate customers, and fix prices of anti-

               vibrational rubber parts.

            y. On July 8, 2014, NSK Ltd. plead guilty to one count of Conspiracy to Restrain

               Trade and agreed to pay a criminal fine of $68.2 million for conspiring to rig

               bids, fix prices, allocate customers, and otherwise restrain trade of bearings.

            z. On July 9, 2014, JTEKT Corporation plead guilty to two counts of Conspiracy

               to Restrain Trade and agreed to pay a criminal fine of $103.27 million for

               conspiring to rig bids, fix prices, allocate customers, and otherwise restrain

               trade of bearings and electric powered steering assemblies.

            aa. On October 3, 2014, Riverside Seat Company, Woodbridge Foam Fabricating,

               Inc., and SW Foam LLC plead guilty to one count of Conspiracy to Restrain




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               Trade and agreed to pay a criminal fine of $6,148,800 collectively for

               conspiring to fix prices and otherwise restrain trade of polyurethane foam.

            bb. On October 8, 2014, NGK Spark Plug Co., Ltd. plead guilty to one count of

               Conspiracy to Restrain Trade and agreed to pay a criminal fine of $52.1

               million for conspiring to rig bids, fix prices, allocate customers, and otherwise

               restrain trade of spark plugs, standard oxygen sensors, and air fuel ratio

               sensors.

            cc. On October 21, 2014, Showa Corporation plead guilty to one count of

               Conspiracy to Restrain Trade and agreed to pay a criminal fine of $19.9

               million for conspiring to rig bids, fix prices, and otherwise restrain trade of

               electronic power steering assemblies.

            dd. On December 16, 2014, Toyoda Gosei Co., LTD. plead guilty to two count of

               Conspiracy to Restrain Trade and agreed to pay a criminal fine of $26 million

               for conspiring to rig bids, fix prices, allocate customers, and otherwise restrain

               trade of certain automotive hoses, airbags, and steering wheels.

            ee. On January 23, 2015, Hitachi Metals, Ltd. plead guilty to one count of

               Conspiracy to Restrain Trade and agreed to pay a criminal fine of $1.25

               million for conspiring to rig bids, allocate customers, and fix prices of brake

               hoses.

            ff. On February 10, 2015, Aisin Seiki Co., LTD. plead guilty to one count of

               Conspiracy to Restrain Trade and agreed to pay a criminal fine of $35.8

               million for conspiring to rig bids, allocate customers, fix prices, and otherwise

               restrain trade of variable timing devices.




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            gg. On March 31, 2015, Sanden Corporation plead guilty to one count of

               Conspiracy to Restrain Trade and agreed to pay a criminal fine of $3.2 million

               for conspiring to rig bids, fix prices, and otherwise restrain trade on

               compressors.

            hh. On April 1, 2015, Continental Automotive Electronics LLC plead guilty to

               one count of Conspiracy to Restrain Trade and agreed to pay a criminal fine of

               $4 million for conspiring to rig bids on instrument panel clusters.

            ii. On April 24, 2015, Minebea Co., LTD plead guilty to one count of

               Conspiracy to Restrain Trade and agreed to pay a criminal fine of $13.5

               million for conspiring to fix prices and otherwise restrain trade on bearings.

            jj. On June 22, 2015, Robert Bosch GmbH plead guilty to one count of

               Conspiracy to Restrain Trade and agreed to pay a criminal fine of $57.8

               million for conspiring to rig bids, fix prices, allocate customers, and otherwise

               restrain trade on spark plugs, oxygen sensors, and starter motors.

            kk. On June 24, 2015, Yamada Manufacturing Co. Ltd. plead guilty to one count

               of Conspiracy to Restrain Trade and agreed to pay a criminal fine of $2.5

               million for conspiring to rig bids, fix prices, and otherwise restrain trade of

               steering columns.

            ll. On November 2, 2015, Kayaba Industry Co LTD plead guilty to one count of

               Conspiracy to Restrain Trade and agreed to pay a criminal fine of $62 million

               for conspiring to rig bids, fix prices, allocate customers, and otherwise restrain

               trade of shock absorbers.

            mm.    On November 16, 2015, NGK Insulators, Ltd. plead guilty to one count of




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               Conspiracy to Restrain Trade and agreed to pay a criminal fine of $65.3

               million for conspiring to rig bids and fix prices of ceramic substrates for

               automotive catalytic converters.

            nn. On January 22, 2016, INOAC Corporation plead guilty to one count of

               Conspiracy to Restrain Trade and agreed to pay a criminal fine of $2.35

               million for conspiring to rig bids, allocate customers, and fix prices of plastic

               interior trim.

            oo. On May 17, 2016, Corning International Kabushiki Kaisha plead guilty to one

               count of Conspiracy to Restrain Trade and agreed to pay a criminal fine of

               $66.5 million for conspiring to rig bids, allocate customers, and fix prices of

               ceramic substrates for emission control systems.

            pp. On June 13, 2016, Omron Automotive Electronics Co., Ltd. plead guilty to

               one count of Conspiracy to Restrain Trade and agreed to pay a criminal fine of

               $4.55 million for conspiring to rig bids on power window switches.

            qq. On September 1, 2016, Nishikawa Rubber Co., LTD. plead guilty to one

               count of Conspiracy to Restrain Trade and agreed to pay a criminal fine of

               $130 million for conspiring to rig bids, allocate customers, and fix prices on

               automotive body sealing products.

            rr. On December 24, 2016, Alpha Corporation plead guilty to one count of

               Conspiracy to Restrain Trade and agreed to pay a criminal fine of $9 million

               for conspiring to rig bids, fix prices, allocate customers, and otherwise restrain

               trade of automotive access mechanisms.

            ss. On February 17, 2017, Hitachi Automotive Systems Ltd plead guilty to one




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                      count of Conspiracy to Restrain Trade and agreed to pay a criminal fine of

                      $55.48 million for conspiring to rig bids, allocate customers, and fix prices on

                      shock absorbers.

                  tt. On May 31, 2018, Maruyasu Industries Co. Ltd. plead guilty and was

                      sentenced to pay a $12 million criminal fine for its role in conspiring to rig

                      bids, allocate customers, and fix prices on automotive steel tubes.

          53.     The sprawling number of indictments and guilty pleas related to the global

conspiracy to rig bids and fix prices of various automotive parts is shocking.

    VI.         COMPETITIVE INJURY

          54.     Defendants’ conspiracy has harmed each Plaintiff.           The cost of vehicles

containing Side-Door Latches and Latch Minimodules are supra-competitive because of

Defendant’s conduct. But for Defendants’ conspiracy, automobile dealers, including Plaintiffs,

would not have paid such supra-competitive, artificially inflated prices. Absent the supra-

competitive prices, Plaintiffs would be able to gain the benefits of competition as to Side-Door

Latches and Latch Minimodules, which would reduce the prices to a competitive level. Plaintiffs

purchased vehicles containing Side-Door Latches and Latch Minimodules from OEMs who had

purchased the Side-Door Latches and Latch Minimodules from Defendants. Thus, Plaintiffs paid

higher prices for vehicles containing Side-Door Latches and Latch Minimodules than they

otherwise would have paid absent Defendant’s conspiracy and conduct.

          55.     Each Plaintiff absorbed a substantial portion of the overcharges that they paid due

to Defendants’ illegal activities. Plaintiffs did not pass on all overcharges caused by Defendants’

illegal activities.

          56.     Side-Door Latches and Latch Minimodules are identifiable, discrete physical




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products that remain essentially unchanged when incorporated into a vehicle. As a result, Side-

Door Latches and Latch Minimodules follow a traceable physical chain of distribution from

Defendants to Plaintiffs, and any costs attributable to Side-Door Latches and Latch Minimodules

can be traced through the chain of distribution to Plaintiffs.

       57.     The market for Side-Door Latches and Latch Minimodules and the market for

automobiles are inextricably linked and intertwined because the market for Side-Door Latches

and Latch Minimodules exists to serve the automobile market. As antitrust scholars Professors

Robert G. Harris (Professor Emeritus and former Chair of the Business and Public Policy Group

at the Haas School of Business at the University of California at Berkeley) and the late Lawrence

A. Sullivan (Professor of Law Emeritus at Southwestern Law School and author of the

Handbook of the Law of Antitrust) have recognized, “in a multiple level chain of distribution,

passing on monopoly overcharges is not the exception: it is the rule.”8 Without the automobiles,

the Side-Door Latches and Latch Minimodules have little to no value.            The demand for

automobiles creates the demand for Side-Door Latches and Latch Minimodules. Thus, the

artificially inflated prices of Side-Door Latches and Latch Minimodules in new automobiles as a

result of Defendants’ conspiracy have been passed to the indirect-purchaser Plaintiffs.

       58.     Well-accepted economic models can quantify the specific overcharge impacting

the prices of motor vehicles containing Side-Door Latches and Latch Minimodules.              For

example, economists use “regression analysis” to isolate and understand the relationship between

an “explanatory” variable and a “dependent” variable when numerous, changing variables exist.

Using regression analysis, it is possible to isolate and identify the impact of an increase in the


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  Robert G. Harris & Lawrence A. Sullivan, Passing on the Monopoly Overcharge: A
Comprehensive Policy Analysis, 128 U. Pa. L. Rev. 269, 276 (1979).




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price of Side-Door Latches and Latch Minimodules (explanatory variable) on prices for new

motor vehicles (dependent variable) even though such products contain a number of other

components whose prices may be changing over time. Thus, the precise amount of overcharge

passed on to indirect purchasers as a result of Defendants’ unlawful conspiracy can be measured.

       59.     Defendants’ conspiracy restrained competition in the United States, including in

all states that permit the recovery of damages by indirect purchasers, and had substantial effects

on the commerce of the United States.

   VII.      DISCOVERY RULE AND FRAUDULENT CONCEALMENT

       60.     Plaintiffs had no knowledge of Defendants’ conduct and conspiracy, as alleged

herein, and had no reason to know of such conduct until, at the earliest, the DOJ’s public

announcement of Kiekert AG’s anticipated guilty plea. Plaintiffs had no knowledge or reason to

know of the existence of the conspiracy prior to that date. Further, Plaintiff had no knowledge of

Brose’s participation in the conspiracy until class plaintiffs were provided with confidential

information regarding Brose’s participation and amended their complaint to include the Brose

Defendants over a year later. Plaintiffs are automobile dealers who had no direct contact or

interaction with any of Defendants and no means to discover the conspiracy.

       61.     Defendants further took affirmative steps to conceal their misconduct.

Defendants kept their agreements, understandings and conspiracies secret.         A price-fixing

conspiracy such as this one is, by its very nature, secretive. As explained in the Informations

filed against several Defendants, the conspirators concealed their activities from the authorities

by using code names and arranging meetings at private residences and remote locations.

       62.     Plaintiffs could not have discovered the alleged conspiracy and conduct at an

earlier date by the exercise of reasonable diligence.




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       63.      Thus, the discovery rule and Defendants’ fraudulent concealment have tolled the

running of any applicable statutes of limitations.

       64.      Any applicable statutes of limitations as to Plaintiffs have been further tolled by

the pending class actions.

   VIII. CLAIMS

             a. Count 1 – Violation of Section 1 of the Sherman Act

       65.      Plaintiffs incorporate by reference the allegations in the preceding paragraphs.

       66.      Defendants and unnamed conspirators entered into and engaged in a contract,

combination or conspiracy in unreasonable restraint of trade in violation of Section 1 of the

Sherman Act (15 U.S.C. §1).

       67.      The acts done by each of Defendants as part of, and in furtherance of, their

contract, combination, or conspiracy were authorized, ordered, or done by their officers, agents,

employees, or representatives while actively engaged in the management of Defendants’ affairs.

       68.      At least as early as January 1, 2004, and continuing through at least the present,

the exact dates being unknown to Plaintiffs, Defendants and their co-conspirators entered into a

continuing agreement, understanding and conspiracy in restraint of trade to rig bids for and to

artificially fix, raise, stabilize and control prices for Side-Door Latches and Latch Minimodules

thereby creating anticompetitive effects.

       69.      The anti-competitive acts were intentionally directed at the United States market

for Side-Door Latches and Latch Minimodules and had a substantial and foreseeable effect on

interstate commerce by raising and fixing prices for Side-Door Latches and Latch Minimodules

throughout the United States.

       70.      The conspiratorial acts and combinations have caused unreasonable restraints in




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the market for Side-Door Latches and Latch Minimodules.

          71.   As a result of Defendants’ and their co-conspirators’ unlawful conduct, Plaintiffs

have been harmed by purchasing Side-Door Latches and Latch Minimodules or vehicles

containing Side-Door Latches and Latch Minimodules manufactured by Defendants or their co-

conspirators by being forced to pay inflated, supra-competitive prices for such products.

          72.   In formulating and carrying out the alleged agreement, understanding and

conspiracy, Defendants and their co-conspirators did those things that they combined and

conspired to do, including but not limited to the acts, practices, and courses of conduct set forth

herein.

          73.   Defendants’ conspiracy had the following effects, among others:

                a. Price competition in the market for Side-Door Latches and Latch
                   Minimodules has been restrained, suppressed and/or eliminated in the United
                   States;

                b. Prices for Side-Door Latches and Latch Minimodules sold by Defendants and
                   their co-conspirators have been fixed, raised, maintained and stabilized at
                   artificially high, noncompetitive levels throughout the United States; and

                c. Plaintiffs who purchased Side-Door Latches and Latch Minimodules, or
                   vehicles containing Side-Door Latches and Latch Minimodules manufactured
                   by Defendants and their co-conspirators have been deprived of the benefits of
                   free and open competition and have been forced to pay artificially inflated
                   prices for such products.

          74.   Plaintiffs have been injured and will continue to be injured in their business and

property by paying more for Side-Door Latches and Latch Minimodules or vehicles containing

Side-Door Latches and Latch Minimodules manufactured by Defendants and their co-

conspirators than they would have paid and will pay in the absence of the conspiracy.

          75.   The alleged contract, combination, or conspiracy is a per se violation of the

federal antitrust laws.




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       76.      Plaintiffs are entitled to an injunction against Defendants, pursuant to 15 U.S.C.

§26, preventing and restraining the violations alleged herein.

             b. Count 2 – Violation of State Antitrust Statutes

       77.      Plaintiffs incorporate by reference the allegations in the preceding paragraphs.

       78.      From as early as January 1, 2004 through at least the present, Defendants and

their co-conspirators engaged in a continuing contract, combination or conspiracy with respect to

the sale of Side-Door Latches and Latch Minimodules in an unreasonable restraint of trade and

commerce and in violation of the various state antitrust statutes set forth below.

       79.      The contract, combination, or conspiracy consisted of an agreement among the

Defendants and their co-conspirators to fix, raise, inflate, stabilize, and/or maintain artificially

supra-competitive prices for Side-Door Latches and Latch Minimodules and to allocate

customers for Side-Door Latches and Latch Minimodules in the United States.

       80.      In formulating and effectuating this conspiracy, Defendants and their co-

conspirators performed acts in furtherance of the combination and conspiracy, including:

                a. Participating in meetings and conversations among themselves during which
                   they agreed to price Side-Door Latches and Latch Minimodules at certain
                   levels and otherwise to fix, increase, inflate, maintain, or stabilize effective
                   prices paid by Plaintiffs with respect to Side-Door Latches and Latch
                   Minimodules sold in the United States;

                b. Allocating customers and markets and rigging bids for Side-Door Latches and
                   Latch Minimodules in the United States in furtherance of their agreements;
                   and

                c. Participating in meetings and conversations among themselves to implement,
                   adhere to and police the unlawful agreements they reached.

       81.      Defendants and their co-conspirators engaged in the actions described above for

the purpose of carrying out their unlawful agreements to fix, maintain, decrease, or stabilize

prices, to rig bids and to allocate customers with respect to Side-Door Latches and Latch


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Minimodules.

        82.     The anti-competitive acts were intentionally directed at the market for Side-Door

Latches and Latch Minimodules in all states in which Plaintiffs do business allowing indirect

purchasers to collect damages and had a substantial and foreseeable effect on intrastate

commerce by raising and fixing prices for Side-Door Latches and Latch Minimodules throughout

those states.

        83.     Plaintiffs were deprived of free and open competition in all states, including all

states in which Plaintiffs do business allowing indirect purchasers to collect damages, and

Plaintiffs paid supra-competitive, artificially inflated prices for Side-Door Latches and Latch

Minimodules in all states in which Plaintiffs do business allowing indirect purchasers to collect

damages.

        84.     Defendants’ anticompetitive, unfair acts described above were knowing, willful

and constitute flagrant violations of the below-listed state antitrust statutes.

        85.     Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Arizona Revised Statutes, §§ 44-1401, et seq.

                a. Defendants’ and their co-conspirators’ combinations or conspiracies had the

                    following effects: (1) Side-Door Latches and Latch Minimodules price

                    competition was restrained, suppressed, and eliminated throughout Arizona;

                    (2) Side-Door Latches and Latch Minimodules prices were raised, fixed,

                    maintained and stabilized at artificially high levels throughout Arizona; (3)

                    Plaintiffs were deprived of free and open competition; and (4) Plaintiffs paid

                    supra-competitive, artificially inflated prices for Side-Door Latches and Latch

                    Minimodules and vehicles containing Side-Door Latches and Latch




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                  Minimodules.

              b. During the Relevant Time Period, Defendants’ illegal conduct substantially

                  affected Arizona commerce.

              c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

                  have been injured in their business and property and are threatened with

                  further injury.

              d. By reason of the foregoing, Defendants entered into agreements in restraint of

                  trade in violation of Ariz. Rev. Stat. §§ 44-1401, et seq. Accordingly,

                  Plaintiffs seek all forms of relief available under Ariz. Rev. Stat. §§ 44-1401,

                  et seq.

       86.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of the California Business and Professions Code, §§16700, et seq.

              a. During the Relevant Time Period, Defendants and their co-conspirators

                  entered into and engaged in a continuing unlawful trust in restraint of the trade

                  and commerce described above in violation of Section 16720, California

                  Business and Professions Code. Defendants, each of them, have acted in

                  violation of Section 16720 to fix, raise, stabilize, and maintain prices of, and

                  allocate markets for, Side-Door Latches and Latch Minimodules at supra-

                  competitive levels.

              b. The aforesaid violations of Section 16720, California Business and

                  Professions Code, consisted, without limitation, of a continuing unlawful trust

                  and concert of action among Defendants and their co-conspirators, the

                  substantial terms of which were to fix, raise, maintain, and stabilize the prices




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               of, and to allocate markets for, Side-Door Latches and Latch Minimodules.

            c. For the purpose of forming and effectuating the unlawful trust, Defendants

               and their co-conspirators have done those things which they combined and

               conspired to do, including but in no way limited to the acts, practices and

               course of conduct set forth above and the following: (1) Fixing, raising,

               stabilizing, and pegging the price of Side-Door Latches and Latch

               Minimodules; and (2) Allocating among themselves the production of Side-

               Door Latches and Latch Minimodules.

            d. The combination and conspiracy alleged herein has had, inter alia, the

               following effects: (1) Price competition in the sale of Side-Door Latches and

               Latch Minimodules has been restrained, suppressed, and/or eliminated in the

               State of California; (2) Prices for Side-Door Latches and Latch Minimodules

               sold by Defendants and their co-conspirators have been fixed, raised,

               stabilized, and pegged at artificially high, non-competitive levels in the State

               of California and throughout the United States; and (3) Those who purchased

               Side-Door Latches and Latch Minimodules or vehicles containing Side-Door

               Latches and Latch Minimodules manufactured by Defendants and their co-

               conspirators have been deprived of the benefit of free and open competition.

            e. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

               have been injured in their business and property in that they paid more for

               Side-Door Latches and Latch Minimodules than they otherwise would have

               paid in the absence of Defendants’ unlawful conduct.           As a result of

               Defendants’ violation of Section 16720 of the California Business and




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                  Professions Code, Plaintiffs seek treble damages and their cost of suit,

                  including a reasonable attorney’s fee, pursuant to Section 16750(a) of the

                  California Business and Professions Code.

       87.     Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Kansas Statutes Annotated, §§ 50-101, et seq.

               a. Defendants’ and their co-conspirators’ combinations or conspiracies had the

                  following effects: (1) Side-Door Latches and Latch Minimodules price

                  competition was restrained, suppressed, and eliminated throughout Kansas;

                  (2) Side-Door Latches and Latch Minimodules prices were raised, fixed,

                  maintained and stabilized at artificially high levels throughout Kansas; (3)

                  Plaintiffs were deprived of free and open competition; and (4) Plaintiffs paid

                  supra-competitive, artificially inflated prices for Side-Door Latches and Latch

                  Minimodules and vehicles containing Side-Door Latches and Latch

                  Minimodules.

               b. During the Relevant Time Period, Defendants’ illegal conduct substantially

                  affected Kansas commerce.

               c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

                  have been injured in their business and property and are threatened with

                  further injury.

               d. By reason of the foregoing, Defendants have entered into agreements in

                  restraint of trade in violation of Kansas Stat. Ann. §§ 50-101, et seq.

                  Accordingly, Plaintiffs all forms of relief available under Kansas Stat. Ann. §§

                  50-101, et seq.




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       88.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Mississippi Code Annotated §§ 75-21-1, et seq.

              a. Defendants ’and their co-conspirators’ combinations or conspiracies had the

                  following effects: (1) Side-Door Latches and Latch Minimodules price

                  competition       was   restrained,   suppressed,   and   eliminated   throughout

                  Mississippi; (2) Side-Door Latches and Latch Minimodules prices were

                  raised, fixed, maintained and stabilized at artificially high levels throughout

                  Mississippi; (3) Plaintiffs, including those who resided in Mississippi and/or

                  purchased Side-Door Latches and Latch Minimodules or vehicles in

                  Mississippi, were deprived of free and open competition, including in

                  Mississippi, and (4) Plaintiffs, including those who resided in Mississippi

                  and/or purchased Side-Door Latches and Latch Minimodules or vehicles in

                  Mississippi, paid supra-competitive, artificially inflated prices for Side-Door

                  Latches and Latch Minimodules, including in Mississippi.

              b. During the Relevant Time Period, Defendants’ illegal conduct substantially

                  affected Mississippi commerce.

              c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

                  have been injured in their business and property and are threatened with

                  further injury.

              d. By reason of the foregoing, Defendants have entered into agreements in

                  restraint of trade in violation of Mississippi Code Ann. § 75-21-1, et seq.

                  Accordingly, Plaintiffs seek all relief available under Mississippi Code Ann. §

                  75-21-1, et seq.




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       89.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Nebraska Revised Statutes §§ 59-801, et seq.

              a. Defendants’ and their co-conspirators’ combinations or conspiracies had the

                  following effects: (1) Side-Door Latches and Latch Minimodules price

                  competition was restrained, suppressed, and eliminated throughout Nebraska;

                  (2) Side-Door Latches and Latch Minimodules prices were raised, fixed,

                  maintained and stabilized at artificially high levels throughout Nebraska; (3)

                  Plaintiffs were deprived of free and open competition; and (4) Plaintiffs and

                  paid supra-competitive, artificially inflated prices for Side-Door Latches and

                  Latch Minimodules and vehicles containing Side-Door Latches and Latch

                  Minimodules.

              b. During the Relevant Time Period, Defendants’ illegal conduct substantially

                  affected Nebraska commerce.

              c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

                  have been injured in their business and property and are threatened with

                  further injury.

              d. By reason of the foregoing, Defendants have entered into agreements in

                  restraint of trade in violation of Nebraska Revised Statutes §§ 59-801, et seq.

                  Accordingly, Plaintiffs seek all relief available under Nebraska Revised

                  Statutes §§ 59-801, et seq.

       90.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of the New Hampshire Revised Statutes §§ 356:1, et seq.

              a. Defendants’ and their co-conspirators’ combinations or conspiracies had the




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                  following effects: (1) Side-Door Latches and Latch Minimodules price

                  competition was restrained, suppressed, and eliminated throughout New

                  Hampshire; (2) Side-Door Latches and Latch Minimodules prices were raised,

                  fixed, maintained and stabilized at artificially high levels throughout New

                  Hampshire; (3) Plaintiffs were deprived of free and open competition; and (4)

                  Plaintiffs and paid supra-competitive, artificially inflated prices for Side-Door

                  Latches and Latch Minimodules and vehicles containing Side-Door Latches

                  and Latch Minimodules.

              b. During the Relevant Time Period, Defendants’ illegal conduct substantially

                  affected New Hampshire commerce.

              c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

                  have been injured in their business and property and are threatened with

                  further injury.

              d. By reason of the foregoing, Defendants have entered into agreements in

                  restraint of trade in violation of New Hampshire Revised Statutes §§ 356:1, et

                  seq. Accordingly, Plaintiffs seek all relief available under New Hampshire

                  Revised Statutes §§ 356:1, et seq.

       91.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of the New Mexico Statutes Annotated §§ 57-1-1, et seq.

              a. Defendants’ and their co-conspirators’ combinations or conspiracies had the

                  following effects: (1) Side-Door Latches and Latch Minimodules price

                  competition was restrained, suppressed, and eliminated throughout New

                  Mexico; (2) Side-Door Latches and Latch Minimodules prices were raised,




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                  fixed, maintained and stabilized at artificially high levels throughout New

                  Mexico; (3) Plaintiffs were deprived of free and open competition; and (4)

                  Plaintiffs and paid supra-competitive, artificially inflated prices for Side-Door

                  Latches and Latch Minimodules and vehicles containing Side-Door Latches

                  and Latch Minimodules.

              b. During the Relevant Time Period, Defendants’ illegal conduct substantially

                  affected New Mexico commerce.

              c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

                  have been injured in their business and property and are threatened with

                  further injury.

              d. By reason of the foregoing, Defendants have entered into agreements in

                  restraint of trade in violation of New Mexico Statutes Annotated §§ 57-1-1, et

                  seq. Accordingly, Plaintiffs seek all relief available under New Mexico

                  Statutes Annotated §§ 57-1-1, et seq.

       92.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of the New York General Business Laws §§ 340, et seq.

              a. Defendants’ and their co-conspirators’ combinations or conspiracies had the

                  following effects: (1) Side-Door Latches and Latch Minimodules price

                  competition was restrained, suppressed, and eliminated throughout New York;

                  (2) Side-Door Latches and Latch Minimodules prices were raised, fixed,

                  maintained and stabilized at artificially high levels throughout New York; (3)

                  Plaintiffs, including those who resided in New York and/or purchased Side-

                  Door Latches and Latch Minimodules or vehicles in New York, were deprived




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                   of free and open competition, including in New York; and (4) Plaintiffs,

                   including those who resided in New York and/or purchased Side-Door

                   Latches and Latch Minimodules or vehicles in New York, paid supra-

                   competitive, artificially inflated prices for Side-Door Latches and Latch

                   Minimodules when they purchased, including in New York, Side-Door

                   Latches and Latch Minimodules or vehicles containing Side-Door Latches and

                   Latch Minimodules, or purchased vehicles and Side-Door Latches and Latch

                   Minimodules that were otherwise of lower quality than they would have been

                   absent Defendants’ and their co-conspirators’ illegal acts, or were unable to

                   purchase Side-Door Latches and Latch Minimodules or vehicles that they

                   would have otherwise have purchased absent the illegal conduct.

               b. During the Relevant Time Period, Defendants’ illegal conduct substantially

                   affected New York commerce.

               c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

                   have been injured in their business and property and are threatened with

                   further injury.

               d. By reason of the foregoing, Defendants have entered into agreements in

                   restraint of trade in violation of the New York Donnelly Act, §§ 340, et seq.

                   The conduct set forth above is a per se violation of the Act. Accordingly,

                   Plaintiffs seek all relief available under New York Gen. Bus. Law §§ 340, et

                   seq.

       93.     Defendants have entered into an unlawful agreement in restraint of trade in

violation of the North Carolina General Statutes §§ 75-1, et seq.




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            a. Defendants’ and their co-conspirators’ combinations or conspiracies had the

               following effects: (1) Side-Door Latches and Latch Minimodules price

               competition was restrained, suppressed, and eliminated throughout North

               Carolina; (2) Side-Door Latches and Latch Minimodules prices were raised,

               fixed, maintained and stabilized at artificially high levels throughout North

               Carolina; (3) Plaintiffs, including those who resided in North Carolina and/or

               purchased Side-Door Latches and Latch Minimodules or vehicles in North

               Carolina, were deprived of free and open competition, including in North

               Carolina; and (4) Plaintiffs, including those who resided in North Carolina

               and/or purchased Side-Door Latches and Latch Minimodules or vehicles in

               North Carolina, paid supra-competitive, artificially inflated prices for Side-

               Door Latches and Latch Minimodules and vehicles containing Side-Door

               Latches and Latch Minimodules, including in North Carolina.

            b. During the Relevant Time Period, Defendants’ illegal conduct substantially

               affected North Carolina commerce.

            c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

               have been injured in their business and property and are threatened with

               further injury.

            d. By reason of the foregoing, Defendants have entered into agreements in

               restraint of trade in violation of North Carolina General Statutes §§ 75-1, et

               seq. Accordingly, Plaintiffs seek all relief available under North Carolina

               General Statutes §§ 75-1, et seq.

      94.   Defendants have entered into an unlawful agreement in restraint of trade in




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violation of the Oregon Revised Statutes §§ 646.705, et seq.

              a. Defendants’ and their co-conspirators’ combinations or conspiracies had the

                  following effects: (1) Side-Door Latches and Latch Minimodules price

                  competition was restrained, suppressed, and eliminated throughout Oregon (2)

                  Side-Door Latches and Latch Minimodules prices were raised, fixed,

                  maintained and stabilized at artificially high levels throughout Oregon; (3)

                  Plaintiffs were deprived of free and open competition; and (4) Plaintiffs and

                  paid supra-competitive, artificially inflated prices for Side-Door Latches and

                  Latch Minimodules and vehicles containing Side-Door Latches and Latch

                  Minimodules.

              b. During the Relevant Time Period, Defendants’ illegal conduct substantially

                  affected Oregon commerce.

              c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

                  have been injured in their business and property and are threatened with

                  further injury.

              d. By reason of the foregoing, Defendants have entered into agreements in

                  restraint of trade in violation of Oregon Revised Statutes §§ 646.705, et seq.

                  Accordingly, Plaintiffs seek all relief available under Oregon Revised Statutes

                  §§ 646.705, et seq.

       95.    Specifically, Plaintiff Group 1 Automotive brings claims pursuant to the state

statutes as set forth above against Defendants for the following states: California, Florida,

Kansas, Mississippi, New Hampshire, New Mexico, New York, and South Carolina.

       96.    Plaintiff Asbury Automotive brings claims pursuant to the state statutes as set




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forth above against Defendants for the following states: California, Mississippi, North Carolina,

and Oregon.

       97.     Plaintiff VTG Automotive brings claims pursuant to the state statutes as set forth

above against Defendants for the following states: Arizona, California, Nebraska, and New

Mexico.

       98.     Plaintiffs Major Automotive, City World Motors, and Bronx Ford bring claims

pursuant to the New York statutes set forth above against Defendants.

       99.     Plaintiffs, having purchased new automobiles containing Side-Door Latches and

Latch Minimodules and/or replacement parts for Side-Door Latches and Latch Minimodules in

the above states, as set forth in Paragraphs 85–98 supra have been injured in their business and

property by reason of Defendants’ unlawful combination, contract, conspiracy and agreement.

Plaintiffs have paid more for Side-Door Latches and Latch Minimodules or vehicles containing

Side-Door Latches and Latch Minimodules than they otherwise would have paid in the absence

of Defendants’ unlawful conduct. This injury is of the type the antitrust laws of the above states

were designed to prevent and flows from Defendants’ unlawful conduct.

       100.    Defendants’ violations of the above-listed state laws, as set forth in Paragraphs

85–98 supra have proximately caused the injuries sustained by Plaintiffs.

       101.    In addition, Defendants have profited significantly from the aforesaid conspiracy.

Defendants’ profits derived from their anticompetitive conduct some at the expense and

detriment of Plaintiffs.

       102.    Accordingly, Plaintiffs seek damages (including statutory damages where

applicable), to be trebled or otherwise increased as permitted by a particular jurisdiction’s

antitrust or consumer protection law, and costs of suit, including reasonable attorneys’ fees, to




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the extent permitted by the above state laws.

           c. Count 3 – Violation of State Law Consumer Protection Statutes

       103.    Plaintiffs incorporate by reference the allegations in the preceding paragraphs.

       104.    Defendants knowingly engaged in unfair competition or unfair, unconscionable,

deceptive, or fraudulent acts or practices in violation of the state consumer protection and unfair

competition statutes listed below.

       105.    The Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of the Arkansas Code Annotated, § 4-88-101.

               a. Defendants knowingly agreed to, and did in fact act in, restraint of trade or

                   commerce by affecting, fixing, controlling, and/or maintaining at non-

                   competitive and artificially inflated levels, the prices at which Side-Door

                   Latches and Latch Minimodules were sold, distributed, or obtained in

                   Arkansas and took efforts to conceal their agreements from Plaintiffs.

               b. The aforementioned conduct on the part of Defendants constituted

                   “unconscionable” and “deceptive” acts or practices in violation of Arkansas

                   Code Annotated, § 4-88-107(a)(10).

               c. Defendants’ unlawful conduct had the following effects: (1) Side-Door

                   Latches and Latch Minimodules price competition was restrained, suppressed,

                   and eliminated throughout Arkansas; (2) Side-Door Latches and Latch

                   Minimodules prices were raised, fixed, maintained, and stabilized at

                   artificially high levels throughout Arkansas; (3) Plaintiffs were deprived of

                   free and open competition; and (4) Plaintiffs paid supra-competitive,

                   artificially inflated prices for Side-Door Latches and Latch Minimodules and




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                   vehicles containing Side-Door Latches and Latch Minimodules.

              d. During the Relevant Time Period, Defendants’ illegal conduct substantially

                   affected Arkansas commerce and consumers.

              e. As a direct and proximate result of the unlawful conduct of Defendants, have

                   been injured in their business and property and are threatened with further

                   injury.

              f. Defendants have engaged in unfair competition or unfair or deceptive acts or

                   practices in violation of Arkansas Code Annotated, § 4-88-107(a)(10) and,

                   accordingly, Plaintiffs seek all relief available under that statute.

       106.   The Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of the California Business and Professions Code,

§§17200, et seq.

              a. During the Relevant Time Period, Defendants committed and continue to

                   commit acts of unfair competition, as defined by Sections 17200, et seq. of the

                   California Business and Professions Code, by engaging in the acts and

                   practices specified above.

              b. During the Relevant Time Period, Defendants’ illegal conduct substantially

                   affected California commerce and consumers.

              c. This claim is instituted pursuant to Sections 17203 and 17204 of the

                   California Business and Professions Code, to obtain restitution from

                   Defendants for acts, as alleged herein, that violated Section 17200 of the

                   California Business and Professions Code, commonly known as the Unfair

                   Competition Law.




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            d. Defendants’ conduct as alleged herein violated Section 17200. The acts,

               omissions, misrepresentations, practices and non-disclosures of Defendants, as

               alleged herein, constituted a common, continuous, and continuing course of

               conduct of unfair competition by means of unfair, unlawful, and/or fraudulent

               business acts or practices within the meaning of California Business and

               Professions Code, Section 17200, et seq., including, but not limited to, the

               following: (1) the violations of Section 1 of the Sherman Act, as set forth

               above; (2) the violations of Section 16720, et seq., of the California Business

               and Professions Code, set forth above;

            e. Defendants’     acts,     omissions,     misrepresentations,   practices,   and

               nondisclosures, as described above, whether or not in violation of Section

               16720, et seq., of the California Business and Professions Code, and whether

               or not concerted or independent acts, are otherwise unfair, unconscionable,

               unlawful or fraudulent;

            f. Defendants’ acts or practices are unfair to purchasers of Side-Door Latches

               and Latch Minimodules (or vehicles containing them) in the State of

               California within the meaning of Section 17200, California Business and

               Professions Code; and

            g. Defendants' unlawful conduct had the following effects: (1) Side-Door

               Latches and Latch Minimodules price competition was restrained, suppressed,

               and eliminated throughout California; (2) Side-Door Latches and Latch

               Minimodules prices were raised, fixed, maintained, and stabilized at

               artificially high levels throughout California; (3) Plaintiffs, including those




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                who resided in California and/ or purchased Side-Door Latches and Latch

                Minimodules or vehicles in California, were deprived of free and open

                competition, including in California; and (4) Plaintiffs, including those who

                resided in California and/or purchased Side-Door Latches and Latch

                Minimodules or vehicles in California, paid supra-competitive, artificially

                inflated prices for Side-Door Latches and Latch Minimodules and vehicles

                containing Side-Door Latches and Latch Minimodules, including in

                California.

             h. Defendants’ acts and practices are fraudulent or deceptive within the meaning

                of Section 17200 of the California Business and Professions Code.

             i. Plaintiffs are entitled to full restitution and/or disgorgement of all revenues,

                earnings, profits, compensation, and benefits that may have been obtained by

                Defendants as a result of such business acts or practices.

             j. The illegal conduct alleged herein is continuing and there is no indication that

                Defendants will not continue such activity into the future.

             k. As alleged in this Complaint, Defendants and their co-conspirators have been

                unjustly enriched as a result of their wrongful conduct and by Defendants’

                unfair competition. Plaintiffs are accordingly entitled to equitable relief

                including restitution and/or disgorgement of all revenues, earnings, profits,

                compensation, and benefits that may have been obtained by Defendants as a

                result of such business practices, pursuant to the California Business and

                Professions Code, Sections 17203 and 17204.

      107.   The Defendants have engaged in unfair competition or unfair, unconscionable, or




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deceptive acts or practices in violation of the Florida Deceptive and Unfair Trade Practices Act,

Fla. Stat. §§501.201, et seq.

               a. Defendants’ unlawful conduct had the following effects: (1) Side-Door

                   Latches and Latch Minimodules price competition was restrained, suppressed,

                   and eliminated throughout Florida; (2) Side-Door Latches and Latch

                   Minimodules prices were raised, fixed, maintained, and stabilized at

                   artificially high levels throughout Florida; (3) Plaintiffs were deprived of free

                   and open petition; (4) Plaintiffs paid supra-competitive, artificially inflated

                   prices for Side-Door Latches and Latch Minimodules.

               b. During the Relevant Time Period, Defendants’ illegal conduct substantially

                   affected Florida commerce and purchasers of Side-Door Latches and Latch

                   Minimodules and vehicles in Florida.

               c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

                   have been injured and are threatened with further injury.

               d. Defendants have engaged in unfair competition or unfair or deceptive acts or

                   practices in violation of Florida Stat. § 501.201, et seq., and, accordingly,

                   Plaintiffs seek all relief available under that statute.

       108.    Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of the New Mexico Stat. § 57-12-1, et seq.

               a. Defendants and their co-conspirators agreed to, and did in fact, act in restraint

                   of trade or commerce by affecting, fixing, controlling and/or maintaining at

                   noncompetitive and artificially inflated levels, the prices at which Side-Door

                   Latches and Latch Minimodules were sold, distributed or obtained in New




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               Mexico and took efforts to conceal their agreements from Plaintiffs.

            b. Plaintiffs were not aware of Defendants’ price-fixing conspiracy and were

               therefore unaware that they were being unfairly and illegally overcharged.

               There was a gross disparity of bargaining power between the parties with

               respect to the price charged by Defendants for Side-Door Latches and Latch

               Minimodules. Defendants had the sole power to set that price and Plaintiffs

               had no power to negotiate a lower price. Moreover, Plaintiffs lacked any

               meaningful choice in purchasing Side-Door Latches and Latch Minimodules

               because they were unaware of the unlawful overcharge and because they had

               to purchase Side-Door Latches and Latch Minimodules in order to be able to

               operate their vehicles. Defendants’ conduct with regard to sales of Side-Door

               Latches and Latch Minimodules, including their illegal conspiracy to secretly

               fix the price of Side-Door Latches and Latch Minimodules at supra-

               competitive    levels      and    overcharge   consumers,   was    substantively

               unconscionable because it was one-sided and unfairly benefited Defendants at

               the expense of Plaintiffs and the public. Defendants took grossly unfair

               advantage of Plaintiffs.

            c. The aforementioned conduct on the part of Defendants constituted

               “unconscionable trade practices,” in violation of N.M.S.A. Stat. § 57-12-3, in

               that such conduct, inter alia, resulted in a gross disparity between the value

               received by Plaintiffs and the prices paid by them for Side-Door Latches and

               Latch Minimodules as set forth in N.M.S.A., § 57-12-2E, due to the inflated

               prices paid by Plaintiffs for vehicles and Side-Door Latches and Latch




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                  Minimodules.

               d. Defendants’ unlawful conduct had the following effects: (1) Side-Door

                  Latches and Latch Minimodules price competition was restrained, suppressed,

                  and eliminated throughout New Mexico; (2) Side-Door Latches and Latch

                  Minimodules prices were raised, fixed, maintained, and stabilized at

                  artificially high levels throughout New Mexico; (3) Plaintiffs were deprived of

                  free and open competition; and (4) Plaintiffs paid supra-competitive,

                  artificially inflated prices for Side-Door Latches and Latch Minimodules and

                  vehicles containing Side-Door Latches and Latch Minimodules.

               e. During the Relevant Time Period, Defendants’ illegal conduct substantially

                  affected New Mexico commerce and consumers.

               f. As a direct and proximate result of the unlawful conduct of Defendants,

                  Plaintiffs have been injured and are threatened with further injury.

               g. Defendants have engaged in unfair competition or unfair or deceptive acts or

                  practices in violation of New Mexico Stat. § 57-12-1, et seq., and,

                  accordingly, Plaintiffs seek all relief available under that statute.

       109.    The Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of N.Y. Gen. Bus. Law § 349, et seq.

               a. The Defendants and their co-conspirators agree to, and did in fact, act in

                  restraint of trade or commerce by affecting, fixing, controlling and/or

                  maintaining, at artificial and non-competitive levels, the prices at which Side-

                  Door Latches and Latch Minimodules were sold, distributed or obtained in

                  New York and took efforts to conceal their agreements from Plaintiffs.




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            b. Defendants deceptively led purchasers, such as Plaintiffs, to believe that the

               Side-Door Latches and Latch Minimodules they had purchased as

               replacements and inside vehicles had been sold at legal competitive prices,

               when they had in fact been sold at collusively obtained inflated prices, that

               were passed on to them.

            c. The conduct of the Defendants described herein constitutes consumer oriented

               deceptive acts or practices within the meaning of N.Y. Gen. Bus. Law § 349,

               which resulted in injuries to purchasers and broad adverse impact on the

               public at large, and harmed the public interest of New York State in an honest

               marketplace in which economic activity is conducted in a competitive manner.

            d. The Defendants’ unlawful conduct had the following effects: (1) Side-Door

               Latches and Latch Minimodules price competition was restrained, suppressed,

               and eliminated throughout New York; (2) Side-Door Latches and Latch

               Minimodules prices were raised, fixed, maintained, and stabilized at

               artificially high levels throughout New York; (3) Plaintiffs, including those

               who resided in New York and/or purchased Side-Door Latches and Latch

               Minimodules or vehicles in New York, were deprived of free and open

               competition, including in New York; and (4) Plaintiffs, including those who

               resided in New York and/or purchased Side-Door Latches and Latch

               Minimodules or vehicles in New York, paid supra-competitive, artificially

               inflated prices for Side-Door Latches and Latch Minimodules, including in

               New York.




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               e. Because of Defendants' unlawful trade practices in the State of New York,

                   New York purchasers who indirectly purchased Side-Door Latches and Latch

                   Minimodules were misled to believe that they were paying a fair price for

                   Side-Door Latches and Latch Minimodules or the price increases for Side-

                   Door Latches and Latch Minimodules were for valid business reasons; and

                   similarly situated purchasers were affected by Defendants' conspiracy.

               f. During the Relevant Time Period, the Defendants’ illegal conduct

                   substantially affected New York commerce and New York purchasers.

               g. During the Relevant Time Period, the Defendants directly, or indirectly and

                   through affiliates they dominated and controlled, manufactured, sold and/or

                   distributed Side-Door Latches and Latch Minimodules in New York.

               h. Defendants knew that their unlawful trade practices with respect to pricing

                   Side-Door Latches and Latch Minimodules would have a broad impact,

                   causing Plaintiffs who indirectly purchased Side-Door Latches and Latch

                   Minimodules to be injured by paying more for Side-Door Latches and Latch

                   Minimodules than they would have paid in the absence of Defendants'

                   unlawful trade acts and practices.

               i. Plaintiffs seek all relief available pursuant to N.Y. Gen. Bus. Law § 349 (h).

       110.    The Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of North Carolina Gen. Stat. § 75-1.1, et seq.

               a. The Defendants and their co-conspirators agreed to, and did in fact, act in

                   restraint of trade or commerce by affecting, fixing, controlling and/or

                   maintaining, at artificial and non-competitive levels, the prices at which Side-




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               Door Latches and Latch Minimodules were sold, distributed or obtained in

               North Carolina and took efforts to conceal their agreements from Plaintiffs.

            b. The conduct of the Defendants described herein constitutes consumer oriented

               deceptive acts or practices within the meaning of North Carolina law, which

               resulted in injury to purchasers and broad adverse impact on the public at

               large, and harmed the public interest of North Carolina purchasers in an

               honest marketplace in which economic activity is conducted in a competitive

               manner.

            c. The Defendants’ unlawful conduct had the following effects: (1) Side-Door

               Latches and Latch Minimodules price competition was restrained, suppressed,

               and eliminated throughout North Carolina; (2) Side-Door Latches and Latch

               Minimodules prices were raised, fixed, maintained, and stabilized at

               artificially high levels throughout North Carolina; (3) Plaintiffs, including

               those who resided in North Carolina and/or purchased Side-Door Latches and

               Latch Minimodules or vehicles in North Carolina were deprived of free and

               open competition, including in North Carolina; and (4) Plaintiffs, including

               those who resided in North Carolina and/or purchased Side-Door Latches and

               Latch Minimodules or vehicles in North Carolina, paid supra-competitive,

               artificially inflated prices for Side-Door Latches and Latch Minimodules,

               including in North Carolina.

            d. During the Relevant Time Period, the Defendants’ illegal conduct

               substantially affected North Carolina commerce and purchasers in North

               Carolina.




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              e. Defendants deceptively concealed their unlawful activities by conducting

                  meetings and conversations in secret.

              f. During the Relevant Time Period, the Defendants directly, or indirectly and

                  through affiliates they dominated and controlled, manufactured, sold and/or

                  distributed Side-Door Latches and Latch Minimodules in North Carolina.

              g. Plaintiffs seek actual damages for their injuries caused by these violations in

                  an amount to be determined at trial and are threatened with further injury. The

                  Defendants have engaged in unfair competition or unfair or deceptive acts or

                  practices in violation of North Carolina Gen. Stat. § 75-1.1, et seq., and,

                  accordingly, Plaintiffs seek all relief available under that statute.

       111.   The Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of the South Carolina Unfair Trade Practices Act, S.C.

Code Ann. §§ 39-5-10, et seq.

              a. Defendants’ combinations or conspiracies had the following effects: (1) Side-

                  Door Latches and Latch Minimodules price competition was restrained,

                  suppressed, and eliminated throughout South Carolina; (2) Side-Door Latches

                  and Latch Minimodules prices were raised, fixed, maintained, and stabilized

                  at artificially high levels throughout South Carolina; (3) Plaintiffs were

                  deprived of free and open competition; and (4) Plaintiffs paid supra-

                  competitive, artificially inflated prices for Side-Door Latches and Latch

                  Minimodules and vehicles containing Side-Door Latches and Latch

                  Minimodules.

              b. During the Relevant Time Period, Defendants’ illegal conduct had a




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                  substantial effect on South Carolina commerce.

              c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

                  have been injured in their business and property and are threatened with

                  further injury.

              d. Defendants have engaged in unfair competition or unfair or deceptive acts or

                  practices in violation of S.C. Code Ann. §§ 39-5-10, et seq., and, accordingly,

                  Plaintiffs seek all relief available under that statute.

       112.   Specifically, Plaintiff Group 1 Automotive brings claims pursuant to the state

statutes as set forth above against Defendants for the following states: California, Florida, New

Mexico, New York, and South Carolina.

       113.   Plaintiff Asbury Automotive brings claims pursuant to the state statutes as set

forth above against Defendants for the following states: Arkansas, California, Florida, North

Carolina, and South Carolina.

       114.   Plaintiff VTG brings claims pursuant to the state statutes as set forth above

against Defendants for the following states: Florida, California, and New Mexico.

       115.   Plaintiffs Major Automotive, City World Motors, and Bronx Ford bring claims

pursuant to the New York statutes set forth above against Defendants.

           d. Count 4 – Unjust Enrichment

       116.   Plaintiffs incorporate by reference the allegations in the preceding paragraphs.

       117.   Plaintiffs Group 1 Automotive, Asbury Automotive, and VTG bring this claim

under the laws of all states listed in Count 2 and Count 3 supra, except California. Plaintiff

Group 1 Automotive also brings this claim under the laws of Massachusetts. Plaintiff Asbury

Automotive also brings this claim under the laws of Missouri. Plaintiff VTG also brings this




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claim under the laws of Missouri and Illinois.

       118.    Plaintiffs Major Automotive, City World Motors, and Bronx Ford bring this claim

under the laws of New York.

       119.    As a result of their unlawful conduct described above, Defendant have and will

continue to be unjustly enriched. Defendants have been unjustly enriched by the receipt of, at a

minimum, unlawfully inflated prices and unlawful profits on sales of Side-Door Latches and

Latch Minimodules

       120.    Defendants have benefited from their unlawful acts and it would be inequitable

for Defendants to be permitted to retain any of the ill-gotten gains resulting from the

overpayments made by Plaintiffs for Side-Door Latches and Latch Minimodules.

       121.     Plaintiffs are entitled to the amount of Defendants’ ill-gotten gains resulting

from their unlawful, unjust, and inequitable conduct.

       122.    Pursuit of any remedies against the OEMs from whom Plaintiffs purchased

vehicles containing Side-Door Latches and Latch Minimodules would have been futile, given

that those OEMs did not take part in Defendants’ conspiracy.

   IX. DEMAND FOR JURY TRIAL

       123.    Pursuant to Fed. R. Civ. P. 38(b), Plaintiffs demand that, at the trial of this cause,

a jury be empaneled to determine all disputed issues of fact.

   X. PRAYER

       WHEREFORE, Plaintiffs pray for relief and judgment as follows:

               1. An injunction against Defendants, pursuant to 15 U.S.C. §26, preventing and

                   restraining the violations alleged herein;

               2. Judgment in favor of each Plaintiff and against each Defendant, in an amount




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               to be determined at trial including, but not limited to, compensatory damages,

               trebled damages, and pre-judgment and post-judgment interest, as permitted

               by law;

            3. Restitution, including disgorgement of profits Defendants obtained as a result

               of their acts of unfair competition and unjust enrichment;

            4. An award of the cost of the suit, including a reasonable attorney's fee; and

            5. Such other and further relief as the Court deems just, equitable, and proper.


DATED: May 20, 2020.                              Respectfully submitted,

                                                  /s/ Andrew G. Pate___________
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